Case: 1:24-cv-00753-BMB Doc #: 1-2 Filed: 04/29/24 1 of 27. PageID #: 18




          Exhibit B
Case: 1:24-cv-00753-BMB Doc #: 1-2 Filed: 04/29/24 2 of 27. PageID #: 19
Case: 1:24-cv-00753-BMB Doc #: 1-2 Filed: 04/29/24 3 of 27. PageID #: 20
Case: 1:24-cv-00753-BMB Doc #: 1-2 Filed: 04/29/24 4 of 27. PageID #: 21
Case: 1:24-cv-00753-BMB Doc #: 1-2 Filed: 04/29/24 5 of 27. PageID #: 22
Case: 1:24-cv-00753-BMB Doc #: 1-2 Filed: 04/29/24 6 of 27. PageID #: 23
Case: 1:24-cv-00753-BMB Doc #: 1-2 Filed: 04/29/24 7 of 27. PageID #: 24
Case: 1:24-cv-00753-BMB Doc #: 1-2 Filed: 04/29/24 8 of 27. PageID #: 25
Case: 1:24-cv-00753-BMB Doc #: 1-2 Filed: 04/29/24 9 of 27. PageID #: 26
Case: 1:24-cv-00753-BMB Doc #: 1-2 Filed: 04/29/24 10 of 27. PageID #: 27
Case: 1:24-cv-00753-BMB Doc #: 1-2 Filed: 04/29/24 11 of 27. PageID #: 28
Case: 1:24-cv-00753-BMB Doc #: 1-2 Filed: 04/29/24 12 of 27. PageID #: 29
Case: 1:24-cv-00753-BMB Doc #: 1-2 Filed: 04/29/24 13 of 27. PageID #: 30
Case: 1:24-cv-00753-BMB Doc #: 1-2 Filed: 04/29/24 14 of 27. PageID #: 31
Case: 1:24-cv-00753-BMB Doc #: 1-2 Filed: 04/29/24 15 of 27. PageID #: 32
Case: 1:24-cv-00753-BMB Doc #: 1-2 Filed: 04/29/24 16 of 27. PageID #: 33
Case: 1:24-cv-00753-BMB Doc #: 1-2 Filed: 04/29/24 17 of 27. PageID #: 34
Case: 1:24-cv-00753-BMB Doc #: 1-2 Filed: 04/29/24 18 of 27. PageID #: 35
Case: 1:24-cv-00753-BMB Doc #: 1-2 Filed: 04/29/24 19 of 27. PageID #: 36
Case: 1:24-cv-00753-BMB Doc #: 1-2 Filed: 04/29/24 20 of 27. PageID #: 37
Case: 1:24-cv-00753-BMB Doc #: 1-2 Filed: 04/29/24 21 of 27. PageID #: 38
Case: 1:24-cv-00753-BMB Doc #: 1-2 Filed: 04/29/24 22 of 27. PageID #: 39
Case: 1:24-cv-00753-BMB Doc #: 1-2 Filed: 04/29/24 23 of 27. PageID #: 40
Case: 1:24-cv-00753-BMB Doc #: 1-2 Filed: 04/29/24 24 of 27. PageID #: 41
Case: 1:24-cv-00753-BMB Doc #: 1-2 Filed: 04/29/24 25 of 27. PageID #: 42
Case: 1:24-cv-00753-BMB Doc #: 1-2 Filed: 04/29/24 26 of 27. PageID #: 43
Case: 1:24-cv-00753-BMB Doc #: 1-2 Filed: 04/29/24 27 of 27. PageID #: 44
